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10
                             UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,                  No. CR 19-457-CAS

14              Plaintiff,                      [PROPOSED] ORDER SETTING FORTH
                                                FACTUAL FINDINGS PURSUANT TO
15                   v.                         THE CARES ACT
16   KIMBERLY M. LEE,

17              Defendant.

18

19        The Court, having read and considered the parties’ stipulation
20   regarding request for an order setting forth factual findings
21   regarding the necessity of proceeding by video teleconference in this
22   case, hereby issues the following factual findings:
23        (1)   On March 13, 2020, the President of the United States
24   issued a proclamation declaring a National Emergency in response to
25   the COVID-19 (Coronavirus Disease) pandemic.
26        (2)   The Governor of the State of California declared a
27   Proclamation of a State of Emergency to exist in California on March
28   4, 2020.   Health Officers from Los Angeles, Riverside, Orange, San
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 1   Bernardino, Santa Barbara, San Luis Obispo, and Ventura Counties

 2   subsequently issued local emergency orders and proclamations related

 3   to public gatherings.

 4        (3)   To date, tens of thousands of people within the Central

 5   District of California have been confirmed to be infected with COVID-

 6   19 and the number of those infected continues to rise, causing an

 7   emergency pandemic.

 8        (4)   In their continuing guidance, the Centers for Disease

 9   Control and Prevention and other public health authorities have

10   suggested the public avoid social gatherings in groups of more than

11   10 people and practice physical distancing (within about six feet)

12   between individuals to potentially slow the spread of COVID-19.               The

13   virus is thought to spread mainly from person-to-person contact, and

14   no vaccine currently exists.

15        (5)   These social distancing guidelines -- which are essential

16   to combatting the virus -- are generally not compatible with holding

17   in-person court hearings.

18        (6)   On March 27, 2020, Congress passed the Coronavirus Aid,

19   Relief, and Economic Security Act (“CARES Act”), which authorized the

20   Judicial Conference of the United States to provide authority to

21   Chief District Judges to permit certain criminal proceedings to be

22   conducted by video or telephonic conference.

23        (7)   Under § 15002(b) of the CARES Act, “if the Judicial

24   Conference of the United States finds that emergency conditions due

25   to the national emergency declared by the President under the

26   National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the

27   Coronavirus Disease 2019 (COVID–19) will materially affect the

28   functioning of either the Federal courts generally or a particular

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 1   district court of the United States, the chief judge of a district

 2   court . . . specifically finds, upon application of the Attorney

 3   General or the designee of the Attorney General, or on motion of the

 4   judge or justice, that felony pleas under Rule 11 of the Federal

 5   Rules of Criminal Procedure and felony sentencings under Rule 32 of

 6   the Federal Rules of Criminal Procedure cannot be conducted in person

 7   without seriously jeopardizing public health and safety, and the

 8   district judge in a particular case finds for specific reasons that

 9   the plea or sentencing in that case cannot be further delayed without

10   serious harm to the interests of justice, the plea or sentencing in

11   that case may be conducted by video teleconference, or by telephone

12   conference if video teleconferencing is not reasonably available.”

13        (8)   On March 29, 2020, the Judicial Conference of the United

14   States made the appropriate findings as required under the CARES Act,

15   finding specifically that “emergency conditions due to the national

16   emergency declared by the President under the National Emergencies

17   Act (50 U.S.C. § 1601, et seq.) with respect to the Coronavirus

18   Disease 2019 (COVID-19) have materially affected and will materially

19   affect the functioning of the federal courts generally.”

20        (9)   On March 29, 2020, the Chief Judge of this District also

21   made the appropriate findings as required under the CARES Act,

22   finding “that felony pleas under Rule 11 of the Federal Rules of

23   Criminal Procedure and felony sentencings under Rule 32 of the

24   Federal Rules of Criminal Procedure cannot be conducted in person

25   without seriously jeopardizing public health and safety.           As a

26   result, if judges in individual cases find, for specific reasons,

27   that felony pleas or sentencings in those cases cannot be further

28   delayed without serious harm to the interests of justice, judges may,

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 1   with the consent of the defendant or the juvenile after consultation

 2   with counsel, conduct those proceedings by video conference, or by

 3   telephonic conference if video conferencing is not reasonably

 4   available.”   These findings will remain in effect through at least

 5   September 24, 2020.

 6        (10) Through this order, I now find that the sentencing in this

 7   case cannot be further delayed without serious harm to the interests

 8   of justice.   My specific reasons are as follows:

 9          a.     On March 23, 2020, the Chief Judge of this District

10        activated The Continuity of Operations (“COOP”) Plan for the

11        Central District of California, closing courthouses in this

12        district to the public except for hearings on criminal duty

13        matters.    The COOP Plan was in effect through and including June

14        22, 2020.

15           b.    On May 28, 2020, the Court adopted The Plan for Phased

16        Resumption of Operations (“Reopening Plan”), outlining three

17        different phases:

18                    i. Phase 1 began on June 1, 2020.       During this Phase,

19        certain staff were permitted to return to this District’s

20        courthouses to prepare for limited in-court hearings.

21                   ii. Phase 2 began on June 22, 2020.       During this Phase,

22        which remains ongoing, individual Judges have the discretion to

23        hold in-court hearings in any criminal matter.          They may also

24        continue to hold hearings by video and telephonic conference.

25        Nevertheless, Judges are not permitted to conduct any jury

26        trials at this time.      Judges also remain unable to hold in-

27        person hearings in most civil matters.

28                 iii. The final phase of the Reopening Plan, Phase 3,

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 1        will be implemented at a date to be determined.          During this

 2        Phase, jury trials may resume.       As a practical matter, however,

 3        this District is unlikely to conduct a substantial number of

 4        jury trials -- and reach its former capacity -- until several

 5        months after the implementation of Phase 3.

 6           c.    On April 9, 2020, the Judicial Council of the Ninth

 7        Circuit declared a judicial emergency in this District pursuant

 8        to 18 U.S.C. § 3174(d).      The Judicial Council declared this

 9        emergency because, among other reasons, the Central District of

10        California is one of the busiest judicial districts in the

11        country.

12           d.    Prior to the Judicial Council declaring the judicial

13        emergency, the number of criminal cases filed by the U.S.

14        Attorney’s Office had risen substantially over previous totals.

15        The USAO has represented that the number of AUSAs in the Central

16        District is at an all-time high, and that the USAO will soon

17        have approximately 220 AUSAs to prosecute criminal cases.

18           e.    As the Judicial Conference concluded, the exceptionally

19        large number of cases pending in this District represents an

20        emergency.    A vacancy on a district court is generally

21        considered an “emergency” if the court’s “weighted filings”

22        exceed 600 per judgeship.      The Central District of California’s

23        weighted filings, 692 per judgeship (61 percent above the

24        Conference standard), are high enough for each Judge’s caseload

25        to be deemed an emergency.

26           f.    The ongoing COVID-19 pandemic will only exacerbate these

27        serious problems.     As described in an April 9 Bloomberg article

28        entitled “Short-Benched U.S. Trial Courts Face Post-Pandemic

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 1        Crisis,” districts with high caseloads and a large number of

 2        judicial vacancies -- such as this District -- will be

 3        challenged to deal with the huge backlog of trials, hearings,

 4        sentencings, and other matters once normal operations resume.

 5        In an email to Bloomberg commenting on this article, the former

 6        Chief Judge of this District agreed that the Central District of

 7        California will have a “significant backlog of trials” when

 8        normal operations resume.      She further expressed that the

 9        Judicial Council’s recent declaration was “critical for us,

10        given that all ten of our district judge vacancies have been

11        declared judicial emergencies, and that we have an extremely

12        heavy caseload.”

13           g.    While individual Judges currently have the discretion to

14        hold in-person hearings in criminal matters, social distancing

15        guidelines remain generally incompatible with in-person

16        hearings.    Many parties, including defendants, counsel, and

17        court staff, are also unable or unwilling to attend in-person

18        hearings due to legitimate safety concerns.          And transporting

19        detained defendants to these hearings may risk the spread of

20        COVID-19 within detention facilities, and result in defendants

21        being subject to quarantines upon their return to these

22        facilities.

23           h.    Given these facts, it is essential that Judges in this

24        District resolve as many matters as possible via video

25        teleconference and telephonic hearing.         By holding these

26        hearings now, this District will be in a much better position to

27        work through the backlog of criminal and civil matters when

28        normal operations resume.

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 1        (11) I therefore conclude that the sentencing in this case

 2   cannot be further delayed without serious harm to the interests of

 3   justice.   If the Court were to delay this hearing until it can be

 4   held in-person, it would only add to the enormous backlog of criminal

 5   and civil matters facing this Court, and every Judge in this

 6   District, when normal operations resume.

 7        (12) The defendant in this case consents to proceed with her

 8   sentencing by video teleconference.       Defendant also understands that,

 9   under Federal Rules of Criminal Procedure 32 and 43, as well as the

10   Constitution, she may have the right to be physically present at this

11   hearing.   Defendant understands that right and voluntarily agrees to

12   waive it and to proceed remotely by video teleconference.           Counsel

13   joins in this consent, agreement, and waiver.

14        (13) Based on the findings above, and my authority under

15   § 15002(b) of the CARES Act, the sentencing in this case will be

16   conducted by video teleconference on September 23, 2020 at 10:00

17   a.m., if at the outset of such hearing, defendant makes a knowing and

18   voluntary waiver of her right to an in-person hearing.

19        IT IS SO ORDERED.

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21    September 18, 2020

22    DATE                                    THE HONORABLE CHRISTINA A. SNYDER
                                              UNITED STATES DISTRICT JUDGE
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